                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE,
                                     AT KNOXVILLE

PAMELA COLLINS,                                  )
    Plaintiff/Counter-Defendant,                 )
                                                 )
v.                                               )    No. 3:10-cv-451
                                                 )    Phillips/Shirley
PROGRESSIVE DIRECT INSURANCE                     )
COMPANY, a/k/a MOUNTAIN                          )
LAUREL ASSURANCE COMPANY,                        )
    Defendant/Counter-Plaintiff.                 )



                                      MOTION TO DISMISS

         Comes Counter-Defendant, by and through counsel, pursuant to F.R.C.P. 12 and moves
that the Counter-Complaint as filed be dismissed, and in support thereof would show:
         1.     The Plaintiff filed the original action in the Union County Circuit Court on
September 13, 2010.
         2.     The Defendant removed the case to this Honorable Court, and filed an Answer to
the Complaint on October 28, 2010 as appears of record as Document 3.
         3.     The Defendant then filed a Counter-Complaint on November 25, 2010 as appears
of record as Document 5.
         4.     The allegations and statements contained in the Counter-Claim is the subject
matter of the Plaintiff’s/Counter-Defendant’s original claim, and arises out of the same
occurrence that the original claim is brought.
         5.     The Counter-Claim was not filed in the initial pleading filed by the Defendant in
its Answer, and is a Compulsory Counter-Claim under Rule 13(a) of the Federal Rules of Civil
Procedure which requires such claims to be made in the initial pleading.
         6.     The Counter-Claim was not made with leave of the Court, and should be deemed
waived if not filed in the initial pleading.




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       7.      The Counter-Complaint was not timely filed, and should not be allowed.


       Wherefore, the Counter-Defendant respectfully moves that the Counter-Complaint be
dismissed. In the alternative, the Counter-Defendant prays for additional time in which to file an
Answer to the Counter-Complaint.


                                                       Respectfully Submitted,


                                                       __/s/ Dirk A. Daniel________
                                                       Dirk A. Daniel BPR# 20710
                                                       Attorney for Plaintiff/Counter-Defendant
                                                       P.O. Box 6
                                                       Rutledge, Tennessee 37861



                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 28, 2010, a copy of the foregoing Motion to Dismiss
was filed electronically. Notice of this filing will be sent to all parties indicated by operation of
the Court’s electronic filing system which may be accessed electronically.


                                                       _/s/ Dirk A. Daniel______
                                                       Dirk A. Daniel
                                                       Attorney for Plaintiff/ Counter-Defendant




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